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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                       No. CR 12-3109 JB

ERNESTO RODRIGUEZ,

               Defendant.

                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on Defendant’s Appeal of a Detention Order,

filed April 10, 2015 (Doc. 31)(“Appeal”). The Court held a hearing on April 23, 2015. The

primary issues are: (i) whether the Court should release Defendant Ernesto Rodriguez pretrial

under conditions that mitigate his risk of flight; and (ii) whether the Court should release

Rodriguez under conditions that mitigate the risk of danger that he presents to the community.

The Court concludes that, given Rodriguez’ lack of criminal history or failures to appear, and his

strong ties to the community, he does not pose a flight risk or a danger to the community. Given

what the Department of Justice is doing -- or not doing -- with marijuana enforcement in the

State of Colorado, it is difficult for Plaintiff United States of America to show danger to the

community in any pure marijuana case.        The Court will therefore overrule the Honorable

Lorenzo F. Garcia, United States Magistrate Judge’s Detention Order Pending Trial, filed April

29, 2013 (Doc. 10), and release Rodriguez to the custody of La Pasada Halfway House under

various conditions.
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                                 FACTUAL BACKGROUND

       The Court sets forth these facts as the United States alleges them in its Superseding

Indictment, filed July 24, 2014 (Doc. 9)(“Indictment”), and the United States’ Response to

Defendant’s Appeal of Detention Order, filed April 20, 2015 (Doc. 36)(“Response”),1 bearing in

mind that Rodriguez is presumed innocent of all charges, see Estelle v. Williams, 425 U.S. 501,

503 (1976)(“The presumption of innocence, although not articulated in the Constitution, is a

basic component of a fair trial under our system of criminal justice.” (citing Coffin v. United

States, 156 U.S. 432, 453 (1895))). The Court recites the United States’ version of the facts

because the high burden of proof placed on it necessitates that it have a cogent, internally

consistent version of events,2 and not out of any predisposition to believe the United States’ side

of the story. See In re Winship, 397 U.S. 358, 365 (1970)(“[W]e explicitly hold that the Due

Process Clause protects the accused against conviction except upon proof beyond a reasonable

doubt of every fact necessary to constitute the crime with which he is charged.”).

       In late 2013, the Federal Bureau of Investigation (“FBI”) was conducting an investigation

involving the Vincente Carrillo Fuentes Organization, also known as the Juarez Cartel or La

Linea. See Indictment ¶ 1, at 1; Response at 1. Undercover agents were in contact with Juarez

Cartel members and were arranging for the importation of cartel-produced cocaine and marijuana

       1
         The Indictment contains few facts about what Rodriguez is alleged to have done; the
Indictment instead contains background information about the operations of the Juarez Cartel.
See Indictment at 1-6. The Response contains a more complete description of what the United
States alleges Rodriguez did, so the Court will cite heavily to it in outlining the case’s facts.
       2
         The defendant in a criminal case, on the other hand, need not present a cogent theory of
the case or propose a comprehensive factual story. He or she may sit back and attempt to poke
holes in the United States’ theory of the case, and need not put on any case at all. See United
States v. Wittig, No. 03-40142-JAR, 2005 WL 758606, at *4 (D. Kan. April 4, 2005)
(Robinson, J.)(“It is axiomatic that a defendant has a presumption of innocence, which means
that a defendant need not present evidence, as the defendant has no burden of proof in a criminal
case.” (footnote omitted)).
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into the United States. See Response at 1. Juarez Cartel members unknowingly provided the

FBI with a 2004 Dodge Durango sport utility vehicle (“SUV”), and the undercover source was

instructed to register the vehicle. See Response at 1. Afterward, the undercover source would

return the vehicle to the Juarez Cartel’s representatives in Mexico, who would load it with

marijuana and cocaine, and then transport it back into the United States with the drugs hidden

inside. See Response at 1. The FBI installed a tracking device in the SUV, and in December,

2013, a member of the Juarez Cartel took possession of the SUV and took it into Mexico. See

Response at 1-2.

       In February, 2014, FBI agents conducted an international controlled delivery from Juarez,

Mexico, to Albuquerque, New Mexico. See Response at 2. The SUV was delivered to the

undercover agent on the Bridge of the Americas in El Paso, Texas. See Response at 2. The

undercover agent then drove the vehicle to Albuquerque and met with Rodriguez, who planned

to take possession of the vehicle. See Response at 2. A high-ranking member of the Juarez

Cartel -- co-Defendant Jorge Olivas Nevarez, more commonly known as “Compa Chuy” -- had

provided Rodriguez’ telephone number to the undercover agent. Response at 2. See Indictment

at 1. Rodriguez met with the undercover agent, instructed the agent to follow him to a hotel to

spend the night, and paid the undercover agent $2,890.00, which he had received from co-

Defendant Guadalupe Prieto. See Response at 2; Indictment at 1. Rodriguez indicated that he

would pay the undercover agent the rest of the money owed to him in the morning. See

Response at 2. While FBI agents were conducting surveillance on Rodriguez, they observed him

doing what appeared to them to be counter-surveillance runs -- also known as heat runs -- which

consisted of him driving around in such a way that he would recognize any law enforcement

surveillance vehicles following him. See Response at 2. The FBI took possession of the SUV



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later that evening once Rodriguez had left the area, and its intensive search of the vehicle

revealed approximately eighty-seven kilograms -- or roughly 192 pounds -- of marijuana. See

Response at 2.

                               PROCEDURAL BACKGROUND

       A federal grand jury indicted Rodriguez -- along with eleven co-Defendants, who remain

at large in Mexico -- on July 24, 2014. See Indictment at 1. The Indictment charges Rodriguez

with a single count of possession of fifty kilograms or more of marijuana with intent to distribute

it -- a violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C) and 18 U.S.C. § 2.3 See Indictment at 8.

Police in Santa Teresa, New Mexico, arrested Rodriguez on March 13, 2015, see Arrest Warrant,

filed March 18, 2015 (Doc. 27), and his trial is set to begin July 6, 2015.

       On March 23, 2015, the Honorable Lorenzo F. Garcia, United States Magistrate Judge for

the District of New Mexico, entered a Detention Order Pending Trial denying Rodriguez’ request

to be released to a third party custodian pending trial. See Detention Order Pending Trial, filed

March 23, 2015 (Doc. 30)(“Detention Order”). After conducting a detention hearing pursuant to

the Bail Reform Act, 18 U.S.C. § 3142(f), Judge Garcia concluded that Rodriguez should be

detained pending trial. See Detention Order at 1. Judge Garcia determined that the United States

demonstrated by clear and convincing evidence that Rodriguez posed a serious risk of danger to



       3
         The United States filed a Second Superseding Indictment, filed June 17, 2015 (Doc. 64),
which retains the possession charge and additionally alleges two new charges: conspiracy to
distribute 100 kilograms or more of marijuana in violation of 21 U.S.C. §§ 841(a)(1) and
(b)(1)(B), and attempt to possess 50 kilograms or more of marijuana with intent to distribute it in
violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C), both of which arise under 21 U.S.C. § 846 --
the statute that criminalizes inchoate drug offenses. See Second Superseding Indictment at 8, 9.
At the time of Rodriguez’ detention hearing, he faced only the charge of possession with intent
to distribute as outlined in Count Seven of the Indictment, so the Court will refer to the
Indictment rather than the Second Superseding Indictment.                See Tr. at 16:22-23
(Swainston)(conceding that the United States asserted only Count Seven against Rodriguez).


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the community. See Detention Order at 2. Judge Garcia therefore committed Rodriguez to

confinement in a corrections facility to await trial. See Detention Order at 2.

       Rodriguez appealed the Detention Order on April 10, 2014. See Appeal. Rodriguez

asserts that the “evidence is sufficient to demonstrate that there are less restrictive conditions

available which will reasonably assure his appearance for all judicial proceedings and which will

adequately protect the public.” Appeal at 1. The conditions that Rodriguez cites include release

to a third party custodian, the surrender of his United States Passport, Home Detention -- with

the exception of being allowed to leave for work, church, and approved educational and

community activities -- GPS monitoring, and other conditions which the Court may impose. See

Appeal at 1-2.

       In support of his argument that these conditions will secure his appearance, Rodriguez

contends that he is a United States citizen, married and living in Albuquerque with three sons.

See Appeal at 2, 6.       Throughout his time in Albuquerque, he has maintained regular

employment. See Appeal at 2-3. He has been convicted of one previous criminal offense

“arising out [of] a misunderstanding involving his ex-wife in 2005,” but the offense “led to the

imposition of a conditional discharge” and was ultimately dismissed. Appeal at 3. In the last

few years, Rodriguez has “actively participated in a community church,” stopped drinking

alcohol, and “developed a good reputation in his community as an honorable and decent man.”

Appeal at 3 (citing Letters of Recommendation, filed April 10, 2010 (Doc. 31-3)). By returning

to the United States in March 2015 “after visiting his sick mother in Juarez, Mexico,” he “made

no attempt to flee the jurisdiction of this Court or to avoid prosecution in any way.” Appeal at 5.

Rodriguez asserts that these facts support his contention that he will appear at all future court

proceedings. See Appeal at 5, 12-13.



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       Rodriguez further contends that “the only credible argument the Government can

advance in favor of Mr. Rodriguez’s continued detention” is the nature of the offense -- namely,

a drug offense that produces a presumption that the defendant is a flight risk and danger to the

community. Appeal at 7. Despite the nature of the drug offense involved, he argues that he

“produced sufficient evidence to overcome the presumption” that he should be detained pending

trial. Appeal at 11. He argues that the United States cannot meet its burden to prove by clear

and convincing evidence that various conditions will not assure the community’s safety. See

Appeal at 17. Finally, he asserts that “the Government’s argument for continued detention is

simply insufficient to overcome M[r.] Rodriguez’s presumption of innocence and this Court’s

obligation, under the Bail Reform Act, to release Mr. Rodriguez on the least restrictive

combination of available conditions.” Appeal at 7 (emphasis in original).

       The United States responded to Rodriguez’ Appeal on April 20, 2015. See Response at

1. It contends that Rodriguez faces “C level” drug charges with a “base offense level of 22,”

which carries a guidelines range of 41-51 months. Response at 4. The United States describes

Rodriguez’ offense -- possession with the intent to distribute marijuana -- as “a serious crime

which ‘threatens to cause grave harm to society.’”       Response at 4 (quoting Harmelin v.

Michigan, 501 U.S. 957, 1002 (1991)). It argues that, with such sentencing ramifications,

Rodriguez “has not rebutted the presumption in favor of detention.” Response at 4. Moreover,

the United States contends that the “evidence is very strong and weighs against release.”

Response at 5.




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        The Court held a hearing on April 23, 2014. See Transcript of Hearing at 21:7-18 (taken

April 23, 2015)(“Tr.”).4 Rodriguez established extensive community support for his release.

See Tr. at 5:1-25 (Pori). Rodriguez lives in Pajarito Mesa,5 a community in Albuquerque, where

the “residents live without running water or electricity” in trailers that rely on propone or

generators. Tr. at 5:10-12 (Pori). Rodriguez demonstrated his integral role in the tight-knit

community; community members participate in church services in his trailer Wednesday, Friday,

and Sunday. See Tr. 5:20-21 (Pori). He showed that his ties to his family and community

clearly outweighed his ties to Mexico, especially any alleged ties to the Juarez Cartel. With a

warrant out for his arrest, Rodriguez voluntarily returned to his community in Pajarito Mesa,

instead of remaining safely in Mexico. “If he was with the Juarez Drug Cartel and he was in

Juarez, that’s a good place to be. If he’s with the Juarez Drug Cartel and coming back to the

Pajarito Mesa, that certainly does not sound like someone well connected to the Juarez drug

trafficking organization.”    Tr. at 7:19-24 (Pori).     Rodriguez contends that he returned to

Albuquerque because “his family is here, his sons are here, his [job] is here, his life is here.” Tr.

at 8:2-6 (Pori).

        Additionally, Rodriguez established the lack of evidence the United States had against

him. See Tr. 6:22-25 (Pori)(noting that the indictment was longer than the discovery containing

evidence against Rodriguez). Rodriguez contends that the United States has no evidence to show

he knew the truck contained marijuana. See Tr. at 8:24-25 (Pori). He argued that he thought he

was selling his friend, Prieto, a truck -- not marijuana inside a truck. See Tr. at 9:5-8 (Pori). He

        4
        The Court’s citations to the transcript of the hearing refer to the court reporter’s original,
unedited version. Any final transcript may contain slightly different page and/or line numbers.
        5
        Joseph Sorrentino, Mexico, USA, SANTA FE REPORTER (May 7,                              2013),
http://www.sfreporter.com/santafe/article-7409-mexico-usa.html (describing the                 living
conditions in Pajarito Mesa).
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demonstrated that he had previously performed many favors for Prieto in the past. See Tr. at

9:20-24 (Pori). Finally, Rodriguez argued that “he was a dupe, that he was drawn into this,” and

that the Juarez Cartel found “a good hearted man who doesn’t ask a lot of questions” to pick up a

pair of keys. Tr. at 12:8-14 (Pori).

       The United States asserted that it thought Rodriguez posed both a flight risk and a danger

to the community. See Tr. at 15:11-18 (Court, Swainston). It contended that Rodriguez was

dangerous because of the presumptive danger that comes with the business of drug trafficking,

and because the drugs came from the Juarez Cartel. See Tr. at 15:13-22 (Swainston). The

United States also argued that Rodriguez posed a flight risk because of his contacts with the

Juarez Cartel.   Specifically, it argued that he had the telephone numbers of Juarez Cartel

members. See Tr. at 16:2-7 (Swainston).

       The Bail Report indicated that Rodriguez’ wife and middle son reside with him. See

Pretrial Services Report on Ernesto Rodriguez at 1, filed April 22, 2015 (“Report”). It also

reflected Rodriguez’ employment history in New Mexico.          See Report at 2.    The Pretrial

Services Report indicated that Rodriguez’ “ties and regular travel to the Republic of Mexico”

indicated he might pose a flight risk. Report at 3. The Report stated that the nature of the

offense and his prior arrests involving domestic violence indicated he posed a risk of danger.

See Report at 4. Despite these risks, the Report recommended that “conditions are available, and

may be fashioned to adequately manage the risk of non-appearance and danger to the

community.” Report at 4.

                        LAW REGARDING PRETRIAL DETENTION

       Pursuant to the Bail Reform Act of 1984, 18 U.S.C. §§ 3141 through 3150, a court may

detain a defendant pending trial only after a hearing, held pursuant to 18 U.S.C. § 3142(f), and



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upon a finding “that no condition or combination of conditions will reasonably assure the

appearance of the person as required and the safety of any other person and the community.” 18

U.S.C. § 3142(e). At such a hearing, the United States bears the burden of proving risk of flight

by a preponderance of the evidence, and the burden of proving dangerousness by clear-and-

convincing evidence. See 18 U.S.C. § 3142(f); United States v. Cisneros, 328 F.3d 610, 616

(10th Cir. 2003). “The rules concerning the admissibility of evidence in criminal trials do not

apply to the presentation and consideration of information at the [detention] hearing.” 18 U.S.C.

§ 3142(f).   To determine whether pretrial detention is warranted, the judicial officer must

consider the statutory factors set forth in 18 U.S.C. § 3142(g):

       (g)     Factors to be considered. -- The judicial officer shall, in determining
       whether there are conditions of release that will reasonably assure the appearance
       of the person as required and the safety of any other person and the community,
       take into account the available information concerning --

               (1)    the nature and circumstances of the offense charged, including
               whether the offense is a crime of violence, a violation of section 1591, a
               Federal crime of terrorism, or involves a minor victim or a controlled
               substance, firearm, explosive, or destructive device;

               (2)     the weight of the evidence against the person;

               (3)     the history and characteristics of the person, including --

                       (A)    the person’s character, physical and mental condition,
                       family ties, employment, financial resources, length of residence in
                       the community, community ties, past conduct, history relating to
                       drug or alcohol abuse, criminal history, and record concerning
                       appearance at court proceedings; and

                       (B)      whether, at the time of the current offense or arrest, the
                       person was on probation, on parole, or on other release pending
                       trial, sentencing, appeal, or completion of sentence for an offense
                       under Federal, State, or local law; and


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               (4)      the nature and seriousness of the danger to any person or the
               community that would be posed by the person’s release. In considering the
               conditions of release described in subsection (c)(1)(B)(xi) or (c)(1)(B)(xii)
               of this section, the judicial officer may upon his own motion, or shall upon
               the motion of the Government, conduct an inquiry into the source of the
               property to be designated for potential forfeiture or offered as collateral to
               secure a bond, and shall decline to accept the designation, or the use as
               collateral, of property that, because of its source, will not reasonably
               assure the appearance of the person as required.

8 U.S.C. § 3142(g).

        When a defendant is charged with certain crimes, however, a presumption arises that the

defendant is a flight risk and a danger to the community. See 18 U.S.C. § 3142(e)(3); United

States v. Villapudua-Quintero, 308 F. App’x 272, 273 (10th Cir. 2009)(unpublished)(per

curiam)(recognizing that 18 U.S.C. § 3142(e) establishes a rebuttable presumption favoring

detention in the case of, among other defendants, certain alleged drug offenders). 18 U.S.C.

§ 3142(e)(3)(A) provides that a presumption of detention arises when “there is probable cause to

believe that the person committed” certain drug offenses, specifically “an offense for which a

maximum term of imprisonment of ten years or more is prescribed in the Controlled Substances

Act, the Controlled Substances Import and Export Act, or chapter 705 of title 46.” 18 U.S.C.

§ 3142(e)(3)(A). The United States Court of Appeals for the Tenth Circuit has explained that

“[t]he grand jury indictment is sufficient to establish the finding of probable cause that defendant

committed a federal drug offense with a maximum prison term of ten years or more.” United

States v. Silva, 7 F.3d 1046, 1046 (10th Cir. 1993). Accord United States v. Holguin, 971 F.

Supp. 2d 1082, 1088 (D.N.M. 2011)(Browning, J.). “‘Once the presumption is invoked, the

burden of production shifts to the defendant.’” United States v. Holguin, 791 F. Supp. 2d at

1087 (quoting United States v. Stricklin, 932 F.2d 1353, 1354-55(10th Cir. 1991)).



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       To determine whether the defendant has rebutted the presumption of detention, a court

must consider: (i) the nature and circumstances of the crime charged; (ii) the weight of the

evidence against the defendant; (iii) the history and characteristics of the defendant, including

family ties, employment, financial resources, community ties, drug or alcohol abuse history, and

past conduct; and (iv) the nature and seriousness of the danger to the community or to an

individual that release would pose. See 18 U.S.C. § 3142(g). “Should the defendant satisfy his

or her burden of production under 18 U.S.C. § 3142(f), the United States must then show by a

preponderance of the evidence that the defendant presents a risk of flight, or by clear-and-

convincing evidence that the defendant presents a danger to the community.” United States v.

Holguin, 791 F. Supp. 2d at 1087 (citing United States v. Mercedes, 254 F.3d 433, 436 (2d Cir.

2001); United States v. Stricklin, 932 F.2d at 1354-55 (“[T]he burden of persuasion regarding

risk-of-flight and danger to the community always remains with the government.”)). Notably,

however, even if the defendant meets his or her burden of production under 18 U.S.C. § 3142(f),

“the presumption remains a factor for consideration by the district court in determining whether

to release or detain.” United States v. Stricklin, 932 F.2d at 1355. Accord United States v.

Mercedes, 254 F.3d at 436.

                  THE DISTRICT COURT’S STANDARD OF REVIEW

       Section 3145(a) of Title 18 provides that a “court having original jurisdiction over the

offense” may review a magistrate judge’s detention order or release order. 18 U.S.C. § 3145(a)-

(b). “The standard of review for the district court’s review of a magistrate judge’s detention or

release order under § 3145(a) is de novo.” United States v. Cisneros, 328 F.3d at 616 n.1.

“When the district court acts on a motion to revoke or amend a magistrate’s pretrial detention

order, the district court acts de novo and must make an independent determination of the proper



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pretrial detention or conditions for release.” United States v. Rueben, 974 F.2d 580, 585-86 (5th

Cir. 1992). See United States v. Maull, 773 F.2d 1479, 1481 (8th Cir. 1985)(stating that a

district court’s review of magistrate judge’s order setting bond was de novo).

                                          ANALYSIS

       In response to the presumption that he poses a flight risk and a danger to the community,

Rodriguez has produced evidence that he does not pose a flight risk or danger to the community.

The United States has not shown by a preponderance of the evidence that Rodriguez is a flight

risk, and it has not shown by clear and convincing evidence that he is a danger to the community.

The Court will therefore vacate Judge Garcia’s Detention Order and release Rodriguez subject to

various conditions.

I.     THE UNITED STATES                   INCONSISTENTLY            ENFORCES        FEDERAL
       MARIJUANA LAWS.

       This case is a part of an unsettling trend in the United States of inconsistent enforcement

of federal marijuana laws.     Marijuana remains a “Schedule I” narcotic under the federal

Controlled Substances Act, 21 U.S.C. §§ 801-971 (“CSA”), and carries a mandatory minimum of

five years for anyone who manufactures, distributes, or possesses with intent to distribute 100

kilograms or more of it.     See 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B).       Despite this federal

prohibition, many state governments permit marijuana use for medical purposes, and three states

-- Washington, Colorado, Oregon -- and the District of Columbia have recently decided to permit

marijuana use for recreational purposes. Rather than increasing federal enforcement of the CSA

to fill in the gaps left by local law enforcement in those states, the Executive Branch has chosen

to implement a hands-off approach.

       The Executive Branch first outlined its new marijuana policy in an August, 2012, speech

by Attorney General Eric Holder, in which he said:

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       Some issues are best handled at the state or local level. And that’s why I have
       today directed the United States Attorney community to develop specific, locally
       tailored guidelines -- consistent with our national priorities -- for determining
       when federal charges should be filed and when they should not. This is why I
       have today mandated a modification of the Justice Departments charging policies
       so that certain low-level, nonviolent drug offenders who have no ties to large-
       scale organizations, gangs, or cartels will no longer be charged with offenses that
       impose draconian mandatory minimum sentences. They will now be charged
       with offenses for which the accompanying sentences are better suited to their
       individual conduct.

Eric Holder, U.S. Attorney General, Remarks at the Annual Meeting of the ABA (Aug. 12,

2013)(“Holder Speech”).6 The Executive Branch further explained its policy in a memorandum

that Deputy Attorney General James M. Cole issued to the United States Attorneys in August,

2013. See Memorandum from James M. Cole, Deputy Attorney General, to United States

Attorneys (Aug. 29, 2013)(“Cole Memo.”).7

       The Cole Memo. sets forth eight broad priorities for federal prosecutors “regardless of

state law”:

                Preventing the distribution of marijuana to minors;

                Preventing revenue from the sale of marijuana from going to criminal
                 enterprises, gangs, and cartels;

                Preventing the diversion of marijuana from states where it is legal under
                 state law in some form to other states;

                Preventing state-authorized marijuana activity from being used as a cover
                 or pretext for the trafficking of other illegal drugs or other illegal activity;

                Preventing violence and the use of firearms in the cultivation and
                 distribution of marijuana;

                Preventing drugged driving and the exacerbation of other adverse public
                 health consequences associated with marijuana use;


       6
           Available at: http:// www.justice.gov/iso/opa/ag/speeches/2013/ag-speech-130812.html.
       7
           Available at: http:// www.justice.gov/iso/opa/resources/3052013829132756857467.pdf.
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              Preventing the growing of marijuana on public lands and the attendant
               public safety and environmental dangers posed by marijuana production
               on public lands; and

              Preventing marijuana possession or use on federal property.

Cole Memo. at 1-2.

       Outside of these eight priorities, however, the Cole Memo. “expresses strong deference to

state law.” Bradley E. Markano, Enabling State Deregulation of Marijuana, 90 N.Y.U. L. REV.

289, 295 (2015). The Cole Memo. states that “the existence of a strong and effective state

regulatory system, and a[ marijuana] operation’s compliance with such a system, may allay the

threat that an operation’s size poses to federal enforcement interests.” Cole Memo. at 3. The

Cole Memo. advises that, “in exercising prosecutorial discretion, prosecutors should not consider

the size or commercial nature of a marijuana operation alone as a proxy for assessing whether

marijuana trafficking implicates the Department’s [eight] priorities.” Cole Memo. at 3. The

Cole Memo. instead suggests that federal prosecutors should focus on “whether the operation is

demonstrably in compliance with a strong and effective state regulatory system.” Cole Memo. at

3.

       Whether as a result of the Executive Branch’s new marijuana policy or the Colorado

United States Attorney’s independent decision not to prioritize marijuana prosecutions, there is a

considerable discrepancy between the number of individuals convicted in the District of

Colorado whose primary offense -- i.e., the offense for which that individual faced the highest

statutory maximum sentence -- was violating federal marijuana laws, and those convicted of the

same offenses in the District of New Mexico. While three people were convicted in the District

of Colorado of such offenses in 2014, 352 individuals were convicted in the District of New

Mexico for those crimes. Compare Statistical Information Packet at 1, Fiscal Year 2014, District


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of New Mexico, United States Sentencing Commission,8 with Statistical Information Packet at 1,

Fiscal Year 2014, District of Colorado, United States Sentencing Commission.9

        At least one academic has criticized the Executive Branch’s approach as undermining the

CSA’s deterrent effect. See Zachary S. Price, Enforcement Discretion and Executive Duty,

67 VAND. L. REV. 671, 705 (2014)(“Prospective nonenforcement -- that is, an announced

promise of declining enforcement of a law in the future -- is a particular offense to legislative

supremacy because it undermines the deterrent effect of the law.          Similarly, categorical

nonenforcement for policy reasons usurps Congress’s function of embodying national policy in

law.”). Another academic argues that “[t]he federal government violates the rule of law when it

chooses to apply federal laws without impartiality by prosecuting federal marijuana cases in

states that have not legalized marijuana and turning a blind eye in states that have legalized

marijuana.” Melanie Reid, The Quagmire That Nobody in the Federal Government Wants to

Talk About: Marijuana, 44 N.M. L. REV. 169, 204 (2014).          See Markano, Enabling State

Deregulation of Marijuana, 90 N.Y.U. L. REV. at 298 (“[A]lthough much scholarly attention has

been devoted to the constitutional hazards of executive overreach, executive underreach presents

an even more intractable problem.” (emphasis in original)).

        The press has also identified a number of problems from meshing fully operational

marijuana organizations in Colorado -- which are illegal under federal law -- with other federal

laws.   First, proceeds from the sale of marijuana cannot be routed through banks without

violating federal money laundering laws. See Matt Richtel, The First Bank of Bud, N.Y. TIMES



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        Available at: www.ussc.gov/sites/default/files/pdf/research-and-publications/federal-
sentencing-statistics/state-district-circuit/2014/nm14.pdf.
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        Available at: www.ussc.gov/sites/default/files/pdf/research-and-publications/federal-
sentencing-statistics/state-district-circuit/2014/co14.pdf.
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(Feb. 5, 2015), http://www.nytimes.com/2015/02/08/business/marijuana-industry-in-colorado-

eager-for-its-own-bank-waits-on-the-fed.html (noting that Don Childears, Chief Executive of the

Colorado Bankers Associations argues that, “[m]arijuana is illegal at the federal level; banks that

take money from illegal drug operations are guilty of money laundering; therefore, the banks that

take pot money face serious criminal and civil liability”).

        Second, marijuana consumers cannot use credit cards to purchase a drug that is illegal

under federal law. See Jacob Sullum, Marijuana is Still a Pot of Trouble for Banks, FORBES

MAGAZINE (June 18, 2014), http://www.forbes.com/sites/jacobsullum/2014/09/18/local-banks-

terrified-by-friendly-neighborhood-marijuana-merchants/ (quoting Julie Anderson Hill, a

University of Alabama law professor, who says that, “[b]y facilitating customers’ credit card

payments, the [bank] would be aiding and abetting the distribution of marijuana” (internal

quotation marks omitted)).       Third, marijuana organizations in Colorado need to pay their

employees, withhold taxes, withhold social security, and provide benefits -- activities that are

difficult to conduct on a cash-only basis. See Jeffrey Stinson, States Find You Can’t Take Legal

Marijuana     Money         to   the     Bank,      HUFFINGTON       POST       (Jan.    5,    2015),

http://www.huffingtonpost.com/2015/01/05/marijuana-money_n_6416678.html (“Without bank

accounts, legal marijuana businesses have a hard time paying their employees and vendors.

Relying solely on cash leads to a lack of transparency in accounting and auditing, and it

complicates paying the taxes that states impose on cannabis.”).

        The excess of cash has created another problem: potential violence.                   Because

entrepreneurs must carry cash on their person, they face continual threats of robbery and theft.

See Matt Richtel, The First Bank of Bud: Marijuana Industry in Colorado, Eager for Its Own

Bank,       Waits      on        the     Fed,        N.Y.       TIMES        (Feb.      5,     2015),



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http://www.nytimes.com/2015/02/08/business/marijuana-industry-in-colorado-eager-for-its-own-

bank-waits-on-the-fed.html?_r=0. Entrepreneurs drive armored vehicles to pay bills to the tax

office and utility companies. “Carrying such large amounts of cash is a terrible risk that freaks

me out a bit because there is the fear in my mind that the next car pulling up beside me could be

the crew that hijacks us,” said Ryan Kunkel, co-owner of five medical marijuana dispensaries, to

The New York Times. Serge F. Kovaleski, Banks Say No to Marijuana Money, Legal or Not,

N.Y. TIMES (Jan. 11, 2014), http://www.nytimes.com/2014/01/12/us/banks-say-no-to-marijuana-

money-legal-or-not.html. Former military and law enforcement officers now offer their security

services to entrepreneurs carrying around cash. See Michael Tracey, Guardians of the Greenery:

Inside     the    Marijuana    Security   Business,     ROLLING    STONE   (April    13,   2015),

http://www.rollingstone.com/politics/news/guardians-of-the-greenery-inside-the-marijuana-

security-business-20150413.

         The legalization of marijuana has also created other safety risks. See Joseph Perrone,

The Junk “Science” Behind the Marijuana Legalization Movement, THE WASHINGTON POST

(Oct.     20,    2014),   http://www.washingtonpost.com/posteverything/wp/2014/10/20/the-junk-

science-behind-the-marijuana-legalization-movement/ (noting that “[a] handful of deaths in

Denver were tied to edible marijuana use this year, not to mention the increased risk of fatal car

accidents due to drivers impaired by marijuana.”). Additionally, state-by-state legalization has

caused inter-state disputes. See Matt Ferner, Colorado Asks Supreme Court to Toss Marijuana

Lawsuit     Filed    by   Nebraska,   Oklahoma,       HUFFINGTON    POST   (March    27,   2015),

http://www.huffingtonpost.com/2015/03/27/colorado-marijuana-lawsuit_n_6958336.html

(detailing Oklahoma and Nebraska’s lawsuit against Colorado, which alleges that “Colorado’s




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legalization of marijuana caused a surge of marijuana trafficking in their states and created a

dangerous gap in the federal drug control system” (internal quotation marks omitted)).

       The Court does not need to, and should not, address these problems, or adopt these

criticisms to the Executive Branch’s new marijuana policy. That debate primarily involves

public policy issues for the political branches to resolve according to the mandates of the

American electorate. The Judicial Branch -- i.e., the unelected branch -- should speak lightly

about policy issues entrusted to the elected branches, unless it is necessary to decide a

constitutional separation-of-powers issue about who decides who decides those issues. There

are, however, two issues entrusted to federal courts that involve federal marijuana laws:

sentencing defendants convicted of violating federal marijuana laws and deciding whether to

confine those defendants pending trial.

II.    RODRIGUEZ HAS MET HIS BURDEN OF COMING FORWARD WITH
       EVIDENCE IN RESPONSE TO THE PRESUMPTION.

       Because of the charges that Rodriguez faces, the 18 U.S.C. § 3142(e)(3)(A) presumption

of detention applies. Rodriguez therefore shoulders the burden of producing evidence to show

that the Court could impose conditions which would secure his appearance at trial and remove

any danger to the community. See 18 U.S.C. § 3142(f). Although the defendant bears the

burden of production, the burden of persuasion regarding risk-of-flight and dangerousness

always remains with the government. See United States v. Stricklin, 932 F.2d at 1354-55. The

Tenth Circuit has stated that the defendant’s burden of production “is not heavy.” United States

v. Stricklin, 932 F.2d at 1355. In light of the pressure that the Executive Branch policy puts on

limiting detention in marijuana cases, the Court must determine whether Rodriguez presents

enough evidence to overcome the presumption that pretrial detention is necessary.




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       Rodriguez presents numerous facts to support his contention that he will appear at trial

and pose no danger to the community. Given the Executive Branch’s policy, the first § 3142(g)

factor -- “the nature and circumstances of the crime charged” -- suggests that marijuana offenses

raise fewer concerns than other offenses that carry similar penalties. Even without considering

the Executive Branch’s policy, however, Rodriguez demonstrates that his marijuana-related

offense does not present a risk of flight. Unlike the cases with which Congress was concerned,

Rodriguez is not a high-ranking officer in a drug cartel who possesses the contacts and resources

to flee before his trial. See Senate Report at 19-20; Appeal at 5 (noting that, “unlike every other

defendant charged in the Indictment,” Rodriguez has not attempted to flee, but instead remained

in Albuquerque with his family).      Section 3142(g)’s second factor -- the evidence against

Rodriguez -- also points in Rodriguez’ favor.          The United States’ evidence indicates that

Rodriguez could be connected to the Juarez Cartel, but not necessarily that he knowingly

possessed marijuana or shared a criminal purpose with the other alleged participants. See

Response at 5; Tr. at 23:17-25:25 (Court, Pori).

       Regarding § 3142(g)’s third factor -- the defendant’s history and characteristics --

Rodriguez demonstrates that he has significant community ties to secure his appearance at trial

and show that he poses no danger to his community. See Appeal at 12. He is a United States

citizen. See Appeal at 6. His wife and three sons live in Albuquerque. See Appeal at 12. He

has spent the last twenty years developing relationships and building a home in Albuquerque.

See Appeal at 13. He has maintained steady employment throughout this time and cultivated

significant friendships within his church. See Appeal at 9. Additionally, Rodriguez has had no

criminal convictions in the last ten years. See Appeal at 14.




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       Finally, Rodriguez has demonstrated that he poses little risk to the community’s safety.

See 18 U.S.C. § 3142(g). The Executive Branch’s policy acknowledges that marijuana offenders

do not pose the same danger to the community that Congress sought to capture by using pretrial

detention in 18 U.S.C. § 3142(g). The United States has little to no evidence suggesting that

Rodriguez would commit a dangerous offense. Rodriguez has no extant convictions for any

criminal offense. See United States v. Charley, 2010 WL 4338094, at *6 (D.N.M. 2010 Sept. 9.

2010)(Browning, J.)(stating that the defendant’s lack of criminal history indicated that he would

not pose a danger to others while on release). Rodriguez’ strong family and community ties and

his employment history undercut the idea that he poses a danger to the community. See United

States v. Charley, 2010 WL 4338094, at *6 (determining that the defendant’s seven-year

employment history and ten-year marriage indicated he would not endanger the community

under imposed conditions). These facts rebut the presumption that Rodriguez poses either a

danger to the community or a flight risk.

III.   THE UNITED STATES HAS SHOWN BY A PREPONDERANCE OF THE
       EVIDENCE THAT RODRIGUEZ IS A FLIGHT RISK, BUT THE COURT CAN
       IMPOSE CONDITIONS TO MITIGATE THAT RISK.

       Although Rodriguez presents evidence to rebut the presumption that he is a flight risk,

the United States meets its burden of proving, by a preponderance of the evidence, that

Rodriguez is a flight risk. Nonetheless, the Court can impose conditions to mitigate that risk and

ensure Rodriguez’ appearance at trial.

       A.      THE EXECUTIVE BRANCH’S DECISION NOT TO ENFORCE
               FEDERAL MARIJUANA LAWS IN CERTAIN STATES AFFECTS THE
               COURT’S SENTENCING DECISIONS.

       Because of the Executive Branch’s enforcement policy, the Court will impose a sentence

at the lower end of the United States Sentencing Guidelines range if Rodriguez is convicted.



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With respect to the Court’s sentencing decisions, Congress has directed sentencing courts to

create sentences that are “sufficient, but not greater than necessary” to comply with four

statutorily defined purposes enumerated in § 3553(a)(2):

       (A)     to reflect the seriousness of the offense, to promote respect for the law,
               and to provide just punishment for the offense;

       (B)     to afford adequate deterrence to criminal conduct;

       (C)     to protect the public from further crimes of the defendant; and

       (D)     to provide the defendant with needed educational or vocational training,
               medical care, or other correctional treatment in the most effective
               manner . . . .

18 U.S.C. § 3553(a)(2). Congress also requires sentencing courts to consider: (i) the Guidelines;

(ii) the nature of the offense and the defendant's character; (iii) the available sentences; (iv) the

need to avoid unwarranted sentence disparities among defendants with similar records who have

been found guilty of similar conduct; and (v) the need to provide restitution to victims. See 18

U.S.C. § 3553(a)(1), (3)-(7).

       The Executive Branch’s decision to not enforce federal marijuana laws in certain states

affects a number of factors set forth in § 3553(a). To come up with a sentence that adequately

reflects those factors, the Executive Branch’s policy puts downward pressure on the Court with

regard to each of these factors in pure marijuana cases -- i.e., cases in which the defendant is

convicted only of trafficking marijuana and no other drugs are involved. The Court continues to

believe that marijuana manufacturing and distribution are serious offenses, and, without the

policy change, would be inclined to impose sentences for marijuana offenses that hug the

Guidelines range. The Executive Branch’s policy suggests, however, that manufacturing or

distributing marijuana are not as serious as the Guidelines sentences reflect or as serious as other


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drug crimes. That the Executive Branch does not view marijuana crimes as serious enough to

prosecute in certain states thus puts downward pressure on the Court’s marijuana sentences.

           Similarly, the Court has difficulty imposing a Guidelines sentence and expecting that

sentence to promote respect for the law when the Executive Branch’s words and actions

demonstrate that it does not care if individuals in certain states respect the law at all. Indeed,

respect for the law counsels that the Court should push sentences down for marijuana-related

offenses as much as possible, so that the public and defendants do not suffer from harsh

sentences only in states outside of Colorado, Washington, and Oregon. Likewise, unless courts

outside of those states sentence marijuana defendants below the Guidelines range, there will be

unwarranted sentencing disparities among similarly situated defendants in those states and the

rest of the country. The Court also cannot soundly conclude that imposing a Guidelines sentence

on a poor Hispanic individual caught distributing marijuana in New Mexico is “just punishment”

when wealthier Caucasians in states like Colorado and Washington receive no punishment

whatsoever for the same offense. After all, all of these people are selling marijuana for money,

so their motives are not materially different solely because their actions occurred in different

states.

          Deterrence -- both general and specific -- is a difficult factor for the Court to emphasize

in the § 3553(a) calculation for marijuana cases, given the Executive Branch’s policy.

Prospective federal marijuana offenders are not likely to be deterred unless they will face

prosecution for their offenses, and the deterrence depends upon the state in which the marijuana

offense occurs. Prospective offenders in New Mexico may be deterred by a longer sentence, but

no one in Colorado would be deterred by the sentence that the Court gives in this case. There

may be specific deterrence with the sentence -- i.e., a particular defendant may not commit his



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next marijuana crime in New Mexico -- but the Executive Branch’s policy severely undermines

general deterrence. The same can be said for promoting public safety. The public in New

Mexico is no more or less deserving of public safety than the people of Colorado, Washington,

or Oregon. If the Executive Branch has determined that marijuana no longer threatens the safety

of those latter states’ residents, there is no sound basis to conclude that New Mexico residents

somehow face a greater threat from the same criminal conduct.

       The Court’s job is not to come up with a reasonable sentence, but is to come up with a

sentence that fully and adequately reflects the factors in § 3553(a). See United States v. Conlan,

500 F.3d 1167, 1169 (10th Cir. 2007)(“[A] district court’s job is not to impose a reasonable

sentence. Rather, a district court’s mandate is to impose a sentence sufficient, but not greater

than necessary, to comply with the purposes of section 3553(a)(2).”). Nevertheless, the Court

has a difficult time concluding that sentences which pound frequently poor Hispanic defendants

in New Mexico for marijuana crimes when largely Caucasian entrepreneurs are making millions

off the same crimes in Colorado are reasonable, adequate, or fully reflect the § 3553(a) factors.

See April M. Short, Michelle Alexander: White Men Get Rich from Legal Pot, Black Men Stay

in Prison, ALTERNET (March 16, 2014), http://www.alternet.org/drugs/michelle-alexander-white-

men-get-rich-legal-pot-black-men-stay-prison (describing how “the faces of the [marijuana

business] are primarily white and male,” while the vast majority of those arrested for marijuana

crimes before its legalization were minorities). Accordingly, the Court’s duty to reasonably,

adequately, and fully apply the § 3553(a) factors places significant downward pressure on

sentences for marijuana offenses.

       Finally, if the largely Caucasian entrepreneurs in Colorado are making millions while

Hispanics in New Mexico are being prosecuted for the same criminal conduct, imposing a



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Guidelines sentence appears to be greater than necessary to comply with the purpose of

punishment set forth in the Sentencing Reform Act. This factor also pushes marijuana sentences

downward. In the end, given what is occurring in Colorado, all the factors that Congress

requires that the Court consider in sentencing counsel for a below-the-Guidelines sentence. In

light of these concerns, the Court will be inclined to use carefully tailored conditions of

supervised release rather than incarceration to punish marijuana defendants in future cases.

         The United States would likely have two objections to the Court’s criticisms. First, the

United States has indicated that it is prosecuting only marijuana cases that involve money going

back to Mexico. While at first blush that might sound like a factor worthy of consideration, the

reality is that, in 2015 -- with the exceptions of Colorado, Washington, and Oregon -- a

significant percentage of the marijuana sold in the United States is grown in Mexico. See Beau

Kilmer, Marijuana Legalization Wouldn’t End Drug Crime in Mexico, N.Y. TIMES (Jan. 13,

2014),     www.nytimes.com/roomfordebate/2013/05/22/how-can-marijuana-be-sold-safely/why-

marijuana-legalization-wouldnt-end-drug-crime (“Much of the marijuana consumed in the U.S.

comes from Mexico. It’s impossible to know exactly, but my colleagues and I put the range at

40 to 67 percent for 2008.”). Since the drug kingpins in Mexico usually stay in Mexico -- for

fear of capture in the United States -- those arrested for federal marijuana offenses in the United

States are, by and large, low-level couriers and street dealers. When the United States says that it

will prosecute only pure marijuana cases that come from Mexico, it fails to acknowledge or

comprehend what is actually going on in New Mexico. In the Court’s view, the actions of those

who are being prosecuted for federal marijuana offenses in New Mexico actually look a lot like

those who are making millions in Colorado, or are, in reality, much lower on the production and

distribution hierarchy. There is no sound reason to treat the two groups differently.



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       Second, the United States might say that it is prosecuting federal marijuana offenses only

where there is not a “strong and effective state regulatory system” in place. Cole Memo. at 3.

While the Court will leave to the political branches to decide the wisdom of that approach, and to

explain why the United States is not prosecuting federal marijuana offenses in Colorado, that

dictate does not seem to mean much when the federal courts are sentencing the people that the

United States decides to prosecute. It is unclear why the New Mexico federal court should give a

Guidelines sentence to a defendant in New Mexico for the same criminal activity that the United

States tacitly permits in Colorado, Washington, and Oregon, just because state law varies. State

laws vary across the country in myriad areas, but that has never been a justification to

inconsistently apply federal law. Indeed, the idea of federal law -- and goal of the Guidelines

sentencing ranges -- is to make certain, as much as possible, that every defendant -- regardless

whether they are prosecuted in Colorado, New Mexico, or Washington -- is sentenced as

similarly as possible.

       In sum, unlike in many areas, where there are stiff sentences in pure marijuana cases, the

Court will likely vary as much as possible if a defendant is convicted. Because of the Executive

Branch’s enforcement policy, if Rodriguez is convicted, the Court will impose a sentence at the

lower end of the United States Sentencing Guidelines range.

       B.      ALTHOUGH THE UNITED STATES HAS SHOWN BY A
               PREPONDERANCE OF THE EVIDENCE THAT RODRIGUEZ POSES A
               FLIGHT RISK, THE COURT CAN IMPOSE CONDITIONS TO
               MITIGATE THAT RISK.

       Rodriguez has significant ties to the community.        His wife and three sons live in

Albuquerque, he has lived in Albuquerque for nearly twenty years, and he has maintained steady

employment here. See Appeal at 9-13. Rodriguez also demonstrated ties to his community in

Pajarita Mesa, where he attends weekly church services. See Appeal at 9. The Pajarita Mesa

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community also showed its support in writing numerous letters requesting his release pending

trial. See Letters of Recommendation. Rodriguez is a United States citizen. See Appeal at 6.

Finally, Rodriguez’ lack of criminal convictions and failure to appear support his contention that

he is not a flight risk. See United States v. Raymond, 101 F. App’x 331, 333 (10th Cir.

2004)(per curiam)(concluding that, despite the defendant’s criminal history and prior probation

violations, the defendant’s lack of failures to appear supported pretrial release); United States v.

Nwokoro, 651 F.3d 108, 110 (D.C. Cir. 2011)(determining that, because the defendant did not

attempt to flee and had no history of failing to appear, he was not a serious flight risk).

       Despite Rodriguez’ evidence, however, the United States demonstrates by a

preponderance of the evidence that Rodriguez presents a flight risk. Although he is not a high-

level officer in a drug cartel, the United States has presented enough evidence to indicate that he

has a connection to the Juarez Cartel, which could help him flee. See Response at 4-5 (stating

that the marijuana came from the Juarez Cartel); Tr. at 18:12-20 (Swainston)(describing how

Rodriguez received telephone calls from Juarez Cartel members). Moreover, his mother lives in

Mexico.    See Appeal at 5.      Nonetheless, the Bail Reform Act requires only a reasonable

assurance that the defendant will appear, not a guarantee. See United States v. Xulam, 84 F.3d

441, 444 (D.C. Cir. 1996)(Ginsburg, J.). Even though the crimes that carry longer sentences are

associated with a higher flight risk, Congress envisioned that defendants should be released

pending trial when certain conditions could secure their appearance. See H. Rep. No. 1030, 98th

Cong. 2d Sess. 15 (1984), reprinted in 1984 U.S.C.C.A.N. 3182, 3198 (stating that courts should

release defendants even “where there is a substantial risk of flight,” when conditions can secure

their appearance).




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       The Report recommended that the Court release Rodriguez because conditions could

sufficiently ensure his appearance at trial. See Report at 4. The Court therefore concludes that,

even though the United States proves by a preponderance of the evidence that Rodriguez

constitutes a flight risk, various conditions of release would secure Rodriguez’ appearance at

trial. See 18 U.S.C. § 3142(a)-(c)(directing judicial officers to consider various release options

before ordering detention).

IV.    THE UNITED STATES HAS NOT SHOWN BY CLEAR AND CONVINCING
       EVIDENCE THAT RODRIGUEZ IS A DANGER TO THE COMMUNITY.

       Rodriguez presents evidence to rebut the presumption that he poses a danger to the

community.    The United States has not met its burden to prove, by clear and convincing

evidence, that Rodriguez is a danger to the community. Accordingly, the Court will not detain

Rodriguez pending trial.

       A.      THE EXECUTIVE BRANCH’S DECISION NOT TO ENFORCE
               FEDERAL MARIJUANA LAWS IN CERTAIN STATES AFFECTS THE
               COURT’S DECISIONS REGARDING PRETRIAL DETENTION,
               PARTICULARLY THE COURT’S DETERMINATION WHETHER A
               DEFENDANT POSES A DANGER TO THE COMMUNITY.

       The Executive Branch’s decision to not enforce federal marijuana laws in certain states

also affects the factors the Court must consider when determining whether to detain an individual

pending trial. Congress has directed courts to confine individuals pending trial only after a court

holds a hearing and determines “that no condition or combination of conditions will reasonably

assure the appearance of the person as required and the safety of any other person and the

community.” 18 U.S.C. § 3142(e). Moreover, Congress placed the burden of proving flight risk

and dangerousness on the United States. See 18 U.S.C. § 3142(f); United States v. Cisneros, 328

F.3d at 616. Congress has therefore imposed procedural safeguards to limit detention to only

those instances when it is clearly necessary. See United States v. Holloway, 781 F.2d 124, 125-

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126 (8th Cir. 1986); S. Rep. No. 225, 98th Cong. 1st Sess. 8 (1983), reprinted in 1984

U.S.C.C.A.N. 3182, 3191 (“Senate Report”)(recognizing that the detention statute may be

constitutionally defective if it “fails to provide adequate safeguards and does not limit pretrial

detention to cases in which it is necessary to serve the societal interests it is designed to

protect”).

       Congress also decided that certain more dangerous crimes warrant a presumption that the

defendant poses a flight risk and a danger to the community. See 18 U.S.C. § 3142(e)(3); United

States v. Villapudua-Quintero, 308 F. App’x at 273. Congress reasoned:

       There is a small but identifiable group of particularly dangerous defendants as to
       whom neither the imposition of stringent release conditions nor the prospect of
       release can reasonably assure the safety of the community or other persons. It is
       with respect to this limited group of offenders that the courts must be given the
       power to deny release pending trial.

Senate Report at 6-7. Congress therefore sought to use the presumption to detain the most

dangerous criminal offenders.

       Notably, marijuana offenses can also give rise to the presumption. See 18 U.S.C. §

3142(3)(A). Congress determined that marijuana offenses can pose a danger to the community

when sold in large quantities. See 18 U.S.C. § 3142(3)(A); Senate Report at 19-20. This law sits

in tension with the Executive Branch’s policy determination that marijuana offenses pose little

danger to the community. See Cole Memo. at 3 (concluding that marijuana use, when effectively

regulated, is not dangerous); Holder Speech (concluding that the Department of Justice can

pursue its enforcement policies -- which include maintaining safe communities -- without

prosecuting certain drug-trafficking laws). The Executive Branch has decided that marijuana

offenses no longer threaten the safety of the residents of Colorado, Washington, and Oregon -- or

visitors to those states -- even when the offenses involve “large-scale, for-profit commercial



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enterprises.” Cole Memo. at 3. It makes little sense to conclude that the same marijuana

offense, when committed in New Mexico, poses a danger to the community’s safety.

       The same discrepancy applies to 18 U.S.C. § 3142’s other factor -- whether the defendant

poses a flight risk. Congress determined that offenders who commit dangerous crimes, which

carry higher sentences, are more likely to flee before their trial. See Senate Report at 19-20.

Specifically, Congress included drug-trafficking offenses in the list of offenses giving rise to the

presumption, because “individuals involved in drug trafficking often have foreign contacts and

the ability to leave the country, and incentives to remain active in the drug trade.” United States

v. Disher, 650 F. Supp. 2d 1131, 1136 (D.N.M. 2009)(Browning, J.).              Despite Congress’

conclusions, the Executive Branch has determined marijuana offenses do not warrant the high

sentences Congress has authorized.       See Holder Speech (describing Congress’ mandatory

minimum sentences for drug-trafficking offenses as “draconian” and concluding that low-level

drug offenses do not warrant the mandatory minimum sentences that certain offenses impose).

Because the length of the sentence determines whether the presumption applies to drug-

trafficking offenses, and the Executive Branch has determined that marijuana offenses do not

always warrant higher sentences, the Executive Branch’s policy implies that the pretrial

detention presumption should apply weakly -- or not at all -- to marijuana cases.

       Congress also lists a number of factors courts must consider in making the determination

whether a defendant has rebutted the presumption that he is dangerous or will not appear. See 18

U.S.C. § 3142(g). They include: (i) the nature and circumstances of the crime charged; (ii) the

weight of the evidence against the defendant; (iii) the history and characteristics of the

defendant, including family ties, employment, financial resources, community ties, drug or

alcohol abuse history, and past conduct; and (iv) the seriousness of the danger to the community



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or to an individual that the defendant’s release would pose. See 18 U.S.C. § 3142(g). The

Executive Branch’s decision not to prosecute federal marijuana offenses suggests that the “nature

and circumstances” of marijuana offenses are less serious than other offenses that carry similar

penalties. 18 U.S.C. § 3142(g). See Cole Memo. at 2-3. Similarly, the enforcement decision

diminishes the “seriousness of the danger to the community” posed by a defendant’s pretrial

release. 18 U.S.C. § 3142(g).

       Finally, the Court must recognize the enforcement decision’s disparate effect on various

communities’ liberty interests. If the largely Caucasian entrepreneurs in Colorado generally are

not prosecuted for the same behavior that often poor Hispanics and other minorities perform,

those entrepreneurs will not stand trial and face pretrial detention. Thus, the enforcement policy

threatens the liberty interests of poor Hispanics, while ignoring the wealthier Caucasians. The

Court does not propose that the United States stop enforcing federal marijuana laws in New

Mexico; it instead believes that the United States should enforce the laws fairly, in both New

Mexico and Colorado. See Tr. at 21:7-18 (Court). In sum, the Executive Branch has determined

that imprisonment is not necessary to secure the community’s safety in some states. Imposing

pretrial detention pursuant to 18 U.S.C. § 3142(e)(3)(A)’s factors therefore appears not only

unfair to certain communities, but contrary to Congress’ policy of limiting detention to only

those instances when it is clearly necessary. See United States v. Holloway, 781 F.2d at 125-

126; Senate Report at 8.

       B.      THE UNITED STATES HAS NOT SHOWN BY CLEAR AND
               CONVINCING EVIDENCE THAT RODRIGUEZ POSES A DANGER TO
               THE COMMUNITY.

       Rodriguez has no criminal convictions in the last ten years. See Report at 4; Appeal at

13. Although he received a conditional discharge for an alleged criminal offense in 2005, he has



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not been convicted since. See Report at 4; Appeal at 13. Moreover, Rodriguez has no history of

failing to appear. See Appeal at 14. Rodriguez’ lack of criminal history indicates he would not

endanger the community. See United States v. Charley, 2010 WL 4338094, at *6 (stating that

the defendant’s lack of criminal history indicated that he would not pose a danger to others while

on release).

       Rodriguez’ personal characteristics, including his strong family and community ties and

his employment history, also undercut the idea that Rodriguez poses a danger to the community.

See United States v. Charley, 2010 WL 4338094, at *6 (determining that the defendant’s seven-

year employment history and ten-year marriage indicated he would not endanger the community

under imposed conditions); United States v. Robertson, 2008 WL 2565015, at *2 (D.N.D. June

24, 2008)(Senechal, J.)(concluding that the defendant was not a danger to the community when

he lived in the community his entire life and supported his mother); United States v. Thomas,

2006 WL 140558, at *7 (D. Md. Jan. 13, 2006)(Gauvey, J.)(concluding that the defendant’s

strong family and community support throughout the proceedings indicated he was not a danger).

       The United States contends that Rodriguez poses a danger because of his Juarez Cartel

connections. See Tr. at 19:9-13 (Swainston). The United States has not shown that Rodriguez

possessed the Juarez Cartel’s resources, or had the ability to invoke the Juarez Cartel to perform

his bidding. On the contrary, if the Rodriguez was involved with the Juarez Cartel at all, the

United States has not shown he was anything more than a low-level drug mule -- not the sort of

person with which Congress was concerned in § 3142. See Senate Report at 19-20. With

Rodriguez’ lack of criminal convictions and failures to appear, the Government has no sound

basis to believe Rodriguez would endanger the community. The United States has not met its




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burden of proving by clear and convincing evidence that Rodriguez poses a danger to the

community.

V.     EVEN THOUGH THE UNITED STATES DEMONSTRATES THAT
       RODRIGUEZ POSES A FLIGHT RISK, THE COURT CAN REDUCE THE RISK
       TO ACCEPTABLE LEVELS.

       Despite the Court’s concerns with the Executive Branch’s marijuana policy, it must

faithfully apply federal law. Ultimately, the United States must determine which cases to

prosecute, what charges to bring, whether to seek pretrial detention, and whether to seek the

statutory minimum. For the reasons stated on the record at the hearing, the Court will release

Rodriguez to the custody of La Pasada Halfway House in Albuquerque, New Mexico, subject to

various conditions. See Tr. at 31:17-33:3 (Court). He must: (i) submit to supervision by U.S.

Probation and Pretrial Services; (ii) surrender his passport and not obtain a new passport; (iii)

refrain from leaving Bernalillo County, New Mexico unless authorized; (iv) avoid all contact

with all co-defendants; (v) not possess a firearm, destructive device, or other weapon; (vi) not

use alcohol; (vii) not use or unlawfully possess a narcotic drug or other controlled substance

defined in 21 U.S.C. § 802, unless prescribed by a medical practitioner; (viii) submit to testing

for a prohibited substance; (ix) participate in home detention while residing at La Pasada

Halfway House; (x) submit to location monitoring and GPS technology; and (xi) report to

pretrial services every contact with law enforcement personnel. See Order Setting Conditions of

Release at 1-2, filed April 29, 2015 (Doc. 40).

       IT IS ORDERED that Defendant’s Appeal of a Detention Order, filed April 10, 2015

(Doc. 31), is granted in part. The Court will release Defendant Ernesto Rodriguez to the custody

of the La Pasada Halfway House in Albuquerque, New Mexico, subject to the conditions

contained in the Order Setting Conditions of Release, filed April 29, 2015 (Doc. 40).



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                                                         ________________________________
                                                         UNITED STATES DISTRICT JUDGE

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